     Case 3:17-cv-07357-RS      Document 241-2      Filed 03/20/25    Page 1 of 2



 1 Damion D. D. Robinson, SBN 262573
   David Markevitch, SBN 256163
 2 ROBINSON MARKEVITCH & PARKER LLP
   8430 Santa Monica Blvd., Suite 200
 3 West Hollywood, CA 90069
   Tel.   (213) 757-7778
 4 Email: dr@robinsonmarkevitch.com
          dm@robinsonmarkevitch.com
 5

 6

 7

 8                           UNITED STATES DISTRICT COURT

 9                          NORTHERN DISTRICT OF CALIFORNIA
10

11 MICHAEL ZELENY, an individual,                 Case No.: 3:17-cv-07357-RS
12                            Plaintiff,          Assigned for All Purposes to:
                                                  Hon. Richard Seeborg
13                    vs.
                                                  [PROPOSED] ORDER GRANTING
14 EDMUND G. BROWN, JR., et al.,                  MOTION TO WITHDRAW AS
15
                                                  COUNSEL
                              Defendants.
16                                                [Filed concurrently:
                                                  1. Motion;
17                                                2. Declaration of Damion Robinson]

18                                                Date: May 1, 2025
                                                  Time: 1:30 p.m.
19                                                Crtrm. 3

20

21

22

23

24

25

26

27

28
                                            -1-
                        ORDER GRANTING MOTION TO WITHDRAW
       Case 3:17-cv-07357-RS        Document 241-2        Filed 03/20/25     Page 2 of 2



 1                                               ORDER
 2          The Motion of Damion Robinson, David Markevitch, and Robinson Markevitch & Parker
 3 LLP (collectively “Counsel”) to Withdraw as Counsel for Plaintiff Michael Zeleny came before

 4 the Court for hearing on May 1, 2025 at 1:30 p.m. Having considered the papers, the evidence

 5 submitted, and the arguments of all counsel and parties, and good cause appearing, the Court

 6 hereby ORDERS as follows:

 7          1.    The Court finds that Counsel’s representation of Mr. Zeleny ended either upon
 8 entry of judgment prior to Mr. Zeleny’s appeal or when all counsel previously representing Mr.

 9 Zeleny withdrew during the course of the appeal. The Court does not find that any attorney-

10 client relationship was created for Counsel to represent Mr. Zeleny in post-remand proceedings

11 before this Court.

12          2.    To the extent that there is an attorney-client relationship for those purposes, the
13 Court also finds good cause to allow withdrawal. The facts demonstrate that Counsel has not

14 been involved in this case for a period of years, and did not contemplate representation in post-

15 remand proceedings. Further, there does not appear to be any agreement in place for Mr. Zeleny

16 to hire Counsel to represent him in these proceedings. Requiring Counsel to represent Mr.

17 Zeleny without any agreement to do so would be prejudicial and unfair.

18          3.    Accordingly, the Motion is hereby GRANTED. Counsel is given leave to
19 withdraw and that withdrawal will become effective upon service of this Order on Mr. Zeleny.

20          4.    Mr. Zeleny shall retain new counsel or be prepared to represent himself by the
21 next Case Management Conference in this matter.

22          It is SO ORDERED.
23 Dated:

24                                                       HON. RICHARD SEEBORG
                                                         Chief District Judge
25

26

27

28
                                                   -2-
                              ORDER GRANTING MOTION TO WITHDRAW
